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                                                                                                  UNITED STATES DISTRICT COURT
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                                                                                       CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
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                                                                             DANIEL NERSOYAN,                           CASE NO. CV19-08109 SVW (MAAx)

                                                                        10                      Plaintiff,              (PROPOSED) ORDER ON
                                                                        11                                              REQUEST FOR JUDICIAL
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                                          v.                            NOTICE IN SUPPORT OF
                                                                        12                                              MOTION FOR SUMMARY
                             TEL. (424) 212-7777 | FAX (424) 212-7757
                              21515 HAWTHORNE BLVD., SUITE 800




                                                                             COUNTY OF LOS ANGELES, a                   JUDGMENT OR, IN THE
                                 TORRANCE, CALIFORNIA 90503




                                                                        13   county corporation; COUNTY OF LOS
                                                                             ANGELES SHERIFF’S                          ALTERNATIVE, MOTION FOR
                                                                        14   DEPARTMENT, a public entity;               PARTIAL SUMMARY JUDGMENT
                                                                             SHERIFF JAMES MCDONNELL, in
                                                                        15   his official capacity and as an
                                                                             individual; DEPUTY KENNETH                 Action Filed: September 18, 2019
                                                                        16   COLLINS, individually and in his           Trial Date: January 12, 2021
                                                                             official capacity as a Deputy, and
                                                                        17   DOES 1 through 10, inclusive
                                                                        18
                                                                                                Defendants.
                                                                        19
                                                                                   After consideration of all papers submitted in favor of and in opposition to
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                                                                        21   Defendant’s Request for Judicial Notice, it is hereby ORDERED and ADJUDGED

                                                                        22   that good cause having been shown, the Request is granted in its entirety.
                                                                        23         IT IS SO ORDERED.
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                                                                             Dated:
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                                                                                                                          Hon. Steven V. Wilson
                                                                        27                                                United States District Court Judge
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                                                                                               (PROPOSED) ORDER ON REQUEST FOR JUDICIAL NOTICE
